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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ROY STEWART MOORE and KAYLA
MOORE,
                              Plaintiffs,
                      v.                                Civil Action No. 1:18-cv-02082

SASHA NOAM BARON COHEN,
SHOWTIME NETWORKS, INC., AND CBS
CORPORATION,

                             Defendants.


     PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO OPPOSE
                  DEFENDANTS’ MOTION TO TRANSFER
        Plaintiffs Roy Stewart Moore and Kayla Moore (“Plaintiffs”) hereby move this honorable

Court for a final extension of 14 days, up to and including December 12, 2018, to file an

opposition to Defendants’ motion to transfer due to unforeseen client emergencies from counsel

for Plaintiffs.

        The responsive pleading is currently due November 28, 2018.            Plaintiffs need the

additional time of 14 days because Plaintiffs’ counsel’s office is facing a sudden unforeseen

influx of urgent client matters. They include (1) the representation of two persons before the

Mueller grand jury in the District of Columbia, (2) the representation of a client who needs to file

for immediate injunctive relief after being removed from Twitter and Facebook, threatening her

livelihood and (3) the representation of Christian client who is in federal lockup in the Federal

Detention Center in Terre Haute, Indiana and whose life has been threatened by Muslim inmates,

who have already murdered another inmate, and for which an FBI investigation has been

initiated and is underway.

        The requested extension will not prejudice Defendants since this matter is still at its

beginning phase. Plaintiffs wanted to file this motion yesterday morning, when it asked

Defendants’ counsel for consent, but has not as yet heard back from Defendants.
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       WHEREFORE, Plaintiffs respectfully request an additional 14-day extension of time to

file their opposition to Defendants’ motion to transfer up to and including December 12, 2018.
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Dated: November 28, 2018                           Respectfully Submitted,


                                                    /s/ Larry Klayman
                                                   Larry Klayman, Esq.
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                                                   2020 Pennsylvania Ave. NW # 800
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the Court’s ECF system to all counsel of record or parties on

November 28, 2018.


                                                          /s/ Larry Klayman




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                       IN THE UNITED STATES DISTRICT COURT
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ROY STEWART MOORE and KAYLA
MOORE,
                                Plaintiffs,
                      v.                                  Civil Action No. 1:18-cv-02082

SASHA NOAM BARON COHEN,
SHOWTIME NETWORKS, INC., AND CBS
CORPORATION,

                               Defendants.


                                        [PROPOSED] ORDER
       Upon consideration of Plaintiffs’ Motion for Extension of Time to Oppose Defendants’

Motion to Transfer, having considered same, and all papers and argument in connection

therewith, finds as follows:

       IT IS HEREBY:

       ORDERED: that Plaintiff’s Motion for Extension of Time to Oppose Defendants’

Motion to Transfer is hereby GRANTED.




Entered this           day of                 , 2018.




                                                        SO ORDERED,




                                                        HON. THOMAS F. HOGAN
                                                        United States District Judge
